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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                  Case No. 07-cr-8-01/02-SM

Melissa Allen
Michael Guinier


                                        ORDER



       Defendant's assented-to motion to continue the trial (document no. 39) is granted.

Trial has been rescheduled for the December 2007 trial period. Defendant shall file a

Waiver of Speedy Trial Rights not later than September 4, 2007. On the filing of such

waiver, her continuance shall be effective.

       The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary for effective preparation taking into account the
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exercise of due diligence under the circumstances.

      Final Pretrial Conference: November 20, 2007 at 4:30 PM

      Jury Selection:             December 4, 2007 at 9:30 AM

      SO ORDERED.



August 28, 2007                           /s/ Steven J. McAuliffe
                                         Steven J. McAuliffe
                                         Chief Judge

cc: Jennifer C. Davis, Esq.
    Patrick Richard, Esq.
    Jeffrey Levin, Esq.
    U. S. Probation
    U. S. Marshal




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